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                                          January 19, 2024

VIA ECF
Honorable Michael A. Hammer
United States District Court
District of New Jersey
Marthin Luther King Bldg.
& U.S. Courthouse
50 Walnut Street
Newark, NJ 07101

       Re:     Bell et al., v. American Income Life Insurance Company, et al., No. 2:22-cv-
               06913; Status Report

Dear Judge Hammer:

        This firm represents Plaintiffs Atiya Bell and Abel Flores (“Plaintiffs”) in the above-
captioned lawsuit brought against Defendants American Income Life Insurance Company,
Giglione-Ackerman Agency, LLC, Eric Giglione and David Ackerman (“Defendants,” and
together with Plaintiffs, the “Parties”) for alleged unpaid overtime and minimum wages owed
pursuant to the New Jersey Wage and Hour Law, N.J.S.A. § 34:11-56a et seq. Pursuant to Your
Honor’s Order, ECF No. 35, I write on behalf of the Parties, with consent of Defendants’ counsel,
to provide an update on the status of settlement.

        Plaintiffs have settled this matter in principle with Defendants on an individual (non-class)
basis. The Parties have exchanged drafts of the Plaintiffs’ respective settlement agreements with
Defendants.

        The Parties anticipate that Plaintiffs will file a Notice of Dismissal pursuant to Federal Rule
of Civil Procedure 41(a)(1)(A)(i), with prejudice, by February 16, 2024.

       The Parties thank Your Honor for your time and consideration with regard to this matter.

                                                       Sincerely,

                                                       /s/ Ryan P. McCarthy

                                                       Ryan P. McCarthy
